Case 1:16-cv-11864-DPW Document 18-1 Filed 12/14/16 Page 1 of 16

STATE OF: Massachusetts

COUNTY OF: Essex

AFFIDAVIT

|, the undersigned, being duly sworn according to law deposes and says, that on Saturday,
September 14, 2013, at approximately 10:40 p.m., | entered “Oasis Night Club” located at 147
Jackson Street in Lawrence, MA.

| paid a cover charge of $10 to enter this establishment. | observed the bouncer who is described
as Hispanic male in his middle 30’s, 5°10” tall, approximately 230 pounds, short black curly hair,
facial hair wearing black T-shirt with logo and black jeans and a bartender who is described as a
Hispanic female in her late 30’s wearing a green blouse.

| observed (3) flat screen 55 inch television and a large size projector screen inside this
establishment. The televisions were located above the bar area right wall and the large size
projector screen was located on the left wall adjacent to the dance floor area.

All the televisions were airing the event.

The televisions and the large size projector screen had the sound on and were showing the Floyd

19 seconds left. Ishe Smith wore maroon trunks with black stripes and Carlos Molina was wearing
red trunks with green and red Stripes. All the costumers were watching the fight.

| also observed the following distinguishing items inside the establishment the bar was located to
the right side, a DJ small room up high from the floor Overlooking the dance floor area located to the
left side of the establishment, several chairs were located around the bar and dance floor areas and
6 tables were located behind the front wall adjacent to the main entrance.

This establishment rates good.

— ExHlgiT A

Case 1:16-cv-11864-DPW Document 18-1 Filed 12/14/16 Page 2 of 16

The capacity of this establishment was not visible. At the time of my appearance | counted the
number of patrons three (3) separate times. The head counts were 38, 42 and 39.

| left the above establishment at approximately 10:45 p.m., on Saturday, May 4, 2013.
| also observed the following license plates in front of the establishment.

1) MA — 32 VG 92 2) MA—426 TV6 3) MA — 657 JT 3
4) MA-915 SW6

rr

fv

Date: ape 3 f EL “> it lL Cura \ .

Signature of Investigator

Manuel Aranibar
Field Investigator

M.A.C. Agency Inc.
P.O.BOX #275
Woodstock, CT 06281

NOTARY

State of _LOJNY et

County of: _W WAD RA

On before me, ('02u\_ vu, , personally appeared aud? Arzu ywho proved to me on the
basis of satisfactory evidence to be the person whose name is subscribed to the within instrument
and acknowledged to me that he executed the same in his authorized capacity and that by his
signature on the instrument the person, or the entity upon behalf of which the person acted,
executed the instrument.

| certify under PENALTY OF PERJURY under the laws of the State of Connecticut that the
foregoing paragraph is true and correct.
WITNESS my hand and official seal.
(SEAL)

fi fh,

: i ay of fe iS i ead —_

Signature. WALLS bo J ML
: } - Ft

CheryiARainey _
Notary Public-Connecti
My Commission Expires
February 28, 2017

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Case 1:16-cv-11864-DPW Document 18-1 Filed 12/14/16 Page 4 of 16

GES Caps The Commonwealth of Massachusetts
Alcoholic Beverages Control Commission
239 Causeway Street -
Boston, MA 02114

www.mass.g ov/abec
ON PREMISES LICENSE RENEWAL APPLICATION

LICENSE NUMBER: 059400054 CITY OR TOWN LAWRENCE,

APPLICATION FOR RENEWAL: Annual LICENSED FOR 2013
CLASS YEAR

LICENSEE NAME: OASIS COMMUNITY CENTER INC.

DOING BUSINESS A

ADDRESS 120 BROADWAY

CITY/TOWN: LAWRENCE STATE: MA ZIPCODE: —01840

MANAGER: MATOV, ALEX TYPE OF LICENSE: Club CATEGORY: All Alcohol

EMAIL ADDRESS: alezmatov@lbcboston.com

PLEASE ALSO VISIT OUR WEBSITE AND ENTER YOUR EMALL ADDRESS

DESCRIPTION OF LICENSED PREMISES:
FROM STEVEN FOURNIER

Thereby certify and swear under penalties of perjury that:
1. the renewed license will be of the same type for the same premises now licensed;
2. the licensee has complied with all laws of the Commonwealth relating to taxes; and @
3

. the premises are now open for business (If not explain below)

ee ye > ¢ .
SIGNEDBY Alex Matov _ fro gn , .
orized Corporate Officer “- "oF 7

Individual, Partin
27 3195133
DATE: See MEE EMPLOYER IDENTIFICATION NUMBER:
11-29-12 617 206 4870 (Note: NOT Individual Social Security Number)__ : =

We the undersigned, attest that we are in possession (1) the certificate required by Chapter 304 of the
Acts of 2004, signed by the building inspector and the head of the fire department for the above
named license and (2) the certificate of liquor liability insurance required by Chapier 116 of the Acis

of 2010.

Please Check Below: LOCAL LICENSING AUTHORITY
APPROVED: [__]| By: .
DISAPPROVED: [_] .

(If disapproved explain)

DATE:
APPLICATION FOR RENEWAL MUST BE FILED BY LICENSEES DURING THE MONTH OF NOVEMBER (MLG.L. Ch. 138 3 16A)

Ex tiBiT 3

Case 1:16-cv-11864-DPW Document 18-1. Filed 12/14/16 Page 5 of 16

LAW OFFICES OF THOMAS P. RILEY

A PROFESSIONAL CORPORATION

First LIBRARY SQUARE
1114 FREMONT AVENUE
SoutTH PASADENA, CA 91030-3227
TPRLAW@att.net

TEL: (626) 799-9797 FAX: (626) 799-9795
October 29, 2013

Mr. Alex Matov

Oasis Community Center, Inc.
d/b/a Oasis Night Club

147 Jackson Street

Lawrence, MA 01841

Re: J & J Sports Productions, Inc. v. Alex Matov, et al. Our File No. 091413-31439

Mr. Matov: . Transmitted By Priority Mail Only

By copy of this letter, please be advised that this law firm is retained counsel for J & J Sports
Productions, Inc., in connection with its domestic commercial distribution of the “The One” Floyd
Mayweather, Jr. v. Saul Alvarez WBC Light Middleweight Championship Fight Program, telecast
nationwide on Saturday, September 14, 2013.

We are informed and believe that this Program was exhibited at your commercial establishment in
violation of the exclusive closed-circuit broadcast tights owned by my client. Any unauthorized
broadcast of said Program was in direct violation of the law, including but not limited to Title 47
U.S.C. Section 605, and/or Title 47 U.S.C. Section 553, et seq.

The purpose of this correspondence is to give you an opportunity to reach a settlement with my client
prior to the commencement of litigation in United States District Court. A timely settlement of this
matter will enable you to avoid:

I. Personal exposure to statutory and compensatory damages in excess of One Hundred
Thousand Dollars ($100,000.00), and

2. Financial responsibility on your part for all recoverable legal costs,
including our firm’s attorneys’ fees, and

3. The inconvenience and expense that will attend your defense of a costly
federal lawsuit.

Our firm will forgo the commencement of suit, and the undertaking of any other such legal measures,
for a period of ten (10) calendar days from the date of this correspondence. At this time I urge you,
your attorney, or your authorized representative to contact the undersigned forthwith.

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|
" LAW OFFICES OF THOMAS P. RILEY, P.C.
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stamps!

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Mr Alex Matov

Oasis Community Center, Inc.
d/b/a Oasis Night Club

147 Jackson Street

Lawrence MA 01841-3833

Case 1:16-cv-11864-DPW Document 18-1 Filed 12/14/16 Page 7 of 16

MA SOC Filing Number: 201009525910 _ Date: 7/28/2010 5:12:00 PM

The Commonwealth of Massachusetts Minimum Fee: $250.00
William Francis Galvin

Secretary of the Commonwealth, Corporations Division
One Ashburton Place, 17th floor
Boston, MA 02108-1512
Telephone: (617) 727-9640

Federal Employer Identification Number: 001033293 (must be 9 digits)

ARTICLE |

The exact name of the corporation is:

OASIS COMMUNITY CENTER, INC.

ARTICLE Il

Unless the articles of organization otherwise provide, all corporations formed pursuant to G.L. C156D have the purpose
of engaging in any lawful business. Please specify if you want a more limited purpose:

ARTICLE Ili

State the total number of shares and par value, if any, of each class of stock that the corporation is authorized to
issue. All corporations must authorize stock. If only one class or series is authorized, it is not necessary to specify
any particular designation.

Par Value Per Share Total Authorized by Articles Total Issued
Class of Stock Enter 0 if no Par of Organization or Amendments and Outstanding
Num of Shares Total Par Value Num of Shares
CNP $0.00000 1,000 $0.00 1,000

G.L. C156D eliminates the concept of par value, however a corporation may specify par value in Article Ill. See G.L.
C156D Section 6.21 and the comments thereto.

ARTICLE IV

lf more than one class of stock is authorized, state a distinguishing designation for each class. Prior to the issuance of
any shares of a class, if shares of another class are outstanding, the Business Entity must provide a description of the
preferences, voting powers, qualifications, and special or relative rights or privileges of that class and of each other
class of which shares are outstanding and of each series then established within any class.

ARTICLE V
The resirictions, if any, imposed by the Articles of Organization upon the transfer of shares of stock of any class are:

ARTICLE VI

ExerigttT D

Other lawiul provisions, and if there are no provisions, this article may be left blank.

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Note: The preceding six (6) articles are considered to be permanent and may be changed only by filing
appropriate articles of amendment.

ARTICLE Vil
The effective date of organization and time the articles were received for filing if the articles are not rejected within the

time prescribed by law. If a /ater effective date is desired, specify such date, which may not be later than the 90th day
after the articles are received for filing.

Later Effective Date: Time:

ARTICLE Vill
The information contained in Article Vill is not a permanent part of the Articles of Organization.

a,b. The street address of the initial registered office of the corporation in the commonwealth and the name
of the initial registered agent at the registered office:

Name: SERGEY BOLOGOV
No. and Street: 120 BROADWAY
City or Town: LAWRENCE State: MA Zip: 01840 Country: USA

c. The names and street addresses of the individuals who will serve as the initial directors, president,
treasurer and secretary of the corporation (an address need not be specified if the business address of the
officer or director is the same as the principal office location):

Title individual Name Address (no PO Box)
First, Middle, Last, Suffix Address, City or Town, State, Zip Code
PRESIDENT _ SERGEY BOLOGOV 14 GERALD Bo
MARBLEHEAD, MA 01945 USA
TREASURER . ANDRIAN SHAPIRO 25 APPLETON CIRC:E
NEWTON, MA 02459 USA
SECRETARY ALEX MATOV 1094 WALNUT STREET
NEWTON, MA 02461 USA
DIRECTOR SERGEY BOLOGOV 14 GERALD Bat
MARBLEHEAD, MA 01945 USA
DIRECTOR ANDRIAN SHAPIRO 25 APPLET CIRCE
NEWTON, MA 02459 USA
DIRECTOR ALEX MATOV

1094 WALNUT STREET
NEWTON, MA 02461 USA

d. The fiscal year end (i.e., tax year) of the corporation:
December

e. A brief description of the type of business in which the corporation intends to engage:

OPERATION OF A COMMUNITY CENTER

f. The street address (post office boxes are not acceptable) of the principal office of the corporation:

No. and Street: 120 BROADWAY
City or Town: LAWRENCE State: MA Zip: 01840 Country: USA

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g. Street address where the records of the corporation required to be kept in the Commonwealth are
located (post office boxes are not accepiable):

No. and Street: 120 BROADWAY

City or Town: LAWRENCE State: MA Zip: 01840 Country: USA
which is

its principal office ____ an Office of its transfer agent

_._ an Office of its secretary/assistant secretary __._ its registered office

Signed this 28 Day of July, 2010 at 5:06:48 PM by the incorporator(s). (J/ an existing corporation is
acting as incorporator, type in the exact name of the business entity, the state or other jurisdiction where
it was incorporated, the name of the person signing on behalf of said business entity and the title he/she
holds or other authority by which such action is taken. }

VAL GURVITS 20 PARK PLAZA SUITE 637 BOSTON, MA 02116

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MA SOC Filing Number: 201009525910 Date: 7/28/2010 5:12:00 PM

THE COMMONWEALTH OF MASSACHUSETTS

I hereby certify that, upon examination of this document, duly submitted to me, it appears
that the provisions of the General Laws relative to corporations have been complied with,
and I hereby approve said articles; and the filing fee having been paid, said articles are

deemed to have been filed with me on:

July 28, 2010 05:12 PM

WILLIAM FRANCIS GALVIN

Secretary of the Commonwealth

Case 1:16-cv-11864-DPW Document 18-1 Filed 12/14/16 Page 11 of 16
MA SOC Filing Number: 201343727720 Date: 7/11/2013 10:03:00 AM

ys <p The Commonwealth of Massachusetts Minimum Fee: $100.00
; William Francis Galvin

Secretary of the Commonwealth, Corporations Division
One Ashburton Place, 17th floor

Boston, MA 02108-1512 Special Filing Instruetions

Telephone: (617) 727-9640

Federal Employer Identification Number: 273195133 (must be 9 digits)

1. Exact name of the corporation: OASIS COMMUNITY CENTER, INC.

2. Jurisdiction of Incorporation: State: MA Country:

3,4. Street address of the corporation registered office in the commonwealth and the name of the registered
agent at that office:

Name: SERGEY BOLOGOV

No. and Street: 120 BROADWAY

City or Town: LAWRENCE State: MA Zip: 01840 Country: USA
5. Street address of the corporation's principal office:

No. and Street: 120 BROADWAY

City or Town: LAWRENCE State: MA Zip: 01840 Country: USA

6. Provide the name and addresses of the corporation's board of directors and its president, treasurer,
secretary, and if different, its chief executive officer and chief financial officer.

Title Individual Name Address (no PO Box)

First, Middle, Last, Suffix Address, City or Town, State, Zip Code
PRESIDENT SERGEY BOLOGOV 14 GERALD ROAD

MARBLEHEAD, MA 01945 USA

TREASURER ANDRIAN SHAPIRO 25 APPLETON CIRCE
NEWTON, MA 02459 USA
SECRETARY ALEX MATOV 4094 WALNUT STREET
NEWTON, MA 02461 USA
DIRECTOR SERGEY BOLOGOV 44 GERALD ROAD
MARBLEHEAD, MA 01945 USA
DIRECTOR ANDRIAN SHAPIRO 25 APPLETON CIRC:E
NEWTON, MA 02459 USA
DIRECTOR ALEX MATOV

1094 WALNUT STREET
NEWTON, MA 02461 USA

7. Briefly describe the business of the corporation:

OPERATION OF A COMMUNITY CENTER

8. Capital stock of each class and series:
—ExXHBTE

Par Value Per Share Total Authorized by Articles Total Issued
Class of Stock Enter 0 if no Par of Organization or Amendments and Outstanding

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Num of Shares Total Par Value Num of Shares
CNP $0.00000 4,000 $0.00 1,000

9. Check here if the stock of the corporation is publicly traded:

10. Report is filed for fiscal year ending: 12/31/2012

Signed by SERGEY BOLOGOV , its PRESIDENT
on this 11 Day of July, 2013

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Case 1:16-cv-11864-DPW Document 18-1 Filed 12/14/16 Page 13 of 16
MA SOC_ Filing Number: 201359188540 Date: 12/13/2013 12:29:00 PM

The Commonwealth of Massachusetts No Fee
William Francis Galvin

Secretary of the Commonwealth, Corporations Division
One Ashburton Place, 17th floor
Boston, MA 02108-1512
Telephone: (617) 727-9640

1. Exact name of the corporation: OASIS COMMUNITY CENTER, INC.

2. Current registered office address:

Name: SERGEY BOLOGOV
No. and Street: 120 BROADWAY
City or Town: LAWRENCE State: MA Zip: 01840 Country: USA

3. The following supplemental information has changed:

___ Names and street addresses of the directors, president, treasurer, secretary

Title Individual Name Address (no PO Box)

First, Middle, Last, Suffix : Address, City or Town, State, Zip Code
PRESIDENT SERGEY BOLOGOV

14 GERALD ROAD
MARBLEHEAD, MA 01945 USA

TREASURER ANDRIAN SHAPIRO 25 APPLETON CIRC:E
NEWTON, MA 02459 USA
SECRETARY ALEX MATOV 1094 WALNUT STREET
NEWTON, MA 02461 USA
DIRECTOR SERGEY BOLOGOV 44 GERALD ROAD
MARBLEHEAD, MA 01945 USA
DIRECTOR ANDRIAN SHAPIRO 25 APPLETON CIRC-E
NEWTON, MA 02459 USA
DIRECTOR ALEX MATOV

1094 WALNUT STREET
NEWTON, MA 02461 USA

___ Fiscal year end:
December

___ Type of business in which the corporation intends to engage:

OPERATION OF A COMMUNITY CENTER

_X._ Principal office address:

No. and Street: 20 LINDEN STREET
City or Town: ALLSTON State: MA Zip: 02134 Country: USA

X_g. Street address where the records of the corporation required to be kept in the Commonwealth are
located (post office boxes are not acceptable):

ek lanceiee 20 LINDEN STREET E x4 Bir -

Case 1:16-cv-11864-DPW Document 18-1 Filed 12/14/16 Page 14 of 16

City or Town: ALLSTON Siate: MA Zip: 02134 Country: USA
which is

X__ its principal office — an Office of its transfer agent
—. 4N Office of its secretary/assistant secretary ___ its registered office

Signed by SERGEY BOLOGOV, its PRESIDENT
on this 13 Day of December, 2013

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MA SOC. Filing Number: 201359188540 Date: 12/1 3/2013 12:29:00 PM

THE COMMONWEALTH OF MASSACHUSETTS

I hereby certify that, upon examination of this document, duly submitted to me, it appears
that the provisions of the General Laws relative to corporations have been complied with,
and I hereby approve said articles; and the filing fee having been paid, said articles are

deemed to have been filed with me on:

December 13, 2013 12:29 PM

WILLIAM FRANCIS GALVIN

Secretary of the Commonwealth

Case 1:16-cv-11864-DPW Document 18-1 Filed 12/14/16 Page 16 of 16

en6 Es £04 The Commonweatth of Massachusetts

ee ah Ma ct * * .
= a ee Alcoholic Beverages Control Commission
Spates Se

239 Causeway Street
Boston, MA 02114

Wi W.mass.cov/ahec

ON PREMISES LICENSE RENEWAL APPLICATION
——_—_—_— EN RN RENE WAL APPLICATION

LICENSE NUMBER: 91 600532 CITY ORTOWN BOSTON
APPLICATION FOR RENEWAL: Annual LICENSED FOR 2016
CLASS YEAR
LICENSEE NAME: RUSSIAN BENEVOLENT SOCIETY
DOING BUSINESS A
ADDRESS 014-20 LINDEN STREET
CITY/TOWN: BOSTON STATE: MA ZIP CODE: 02134
MANAGER: MATOV. ALEX TYPE OF LICENSE: Restaurant CATEGORY: Al} Alcohol!

EMAIL ADDRESS:

YOUR EMAIL ABDRESS IS REQUIRED. PLEASE PRINT CLEARLY,

DESCRIPTION OF LICENSED PREMISES:

IN ONE ROOM ON THE FIRST FLOOR KITCHEN AND STORAGE IN THE REAR.

Thereby certify and swear under penalties of perjury that:
1. the renewed license will be of the same type for the same premises now licensed;
2. the licensee has complied with all laws of the Commonwealth relating to taxes; and
3. the premises are now open for business (If not explain below)

SIGNED BY
Individual, Partner or Authorized Corporate Officer

PT]

DATE: TELEPHONE NUMBER: EMPLOYER IDENTIFICATION NUMBER:
(Note: NOT Individual Social Security Number)

We the undersigned, attest that we are in possession (1) the certificate required by Chapter 304 of the
Acts of 2004, signed by the building inspector and the head of the fire department for the above
named license and (2) the certificate of liquor liability insurance required by Chapter 116 of the Acts
of 2010.

Please Check Below: LOCAL LICENSING AUTHORITY

APPROVED: [] By:

DISAPPROVED: [_|

(If disapproved explain) SSS STR ey
Herr umes 8
See ll

DATE:

APPLICATION FOR RENEWAL MUST BE FILED BY LICENSEES DURING THE MONTH OF NOVEMBER (M.G_L. Ch. 138 $ 16A)

ExeiBitT &

